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                                                                                                                    FILED
 AO 106 (Rev. 04/10) Application for a Search Warrant                                                          U._s. _District Court


                                       UNITED STATE!,~elSTRICT                                Cou::. oc;;.~   u           6 2022

                                                                District of Kansas                              ~
                                                                                                       By ______ Oeputy Clerk

              In the Matter of the Search of                             )
          (Briefly describe the property to be searched                  )
           or identi.fj, the person by name and address)                 )           Case No. 22-MJ-6283-01-GEB
Information associated with the Google Account identified as )
SUSANMARTINSUSIEQUE65@GMAIL.COM that is stored at )
premises controlled by Google LLC                            )

                                              APPLICATION FOR A SEARCH WARRANT
        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of pe1jury that I have reason to believe that on the following person or property (identi.fj, the person or describe the
property to be searched and give its location):
  Information associated with the Google Account identified as SUSANMARTINSUSIEQUE65@GMAIL.COM that is stored at
  premises controlled by Google LLC
located in the               No1ihem              District of                California           , there is now concealed (identify the
person or describe the property to be seized}:

  See Attachment B.


           The basis for the search under Fed. R. Crim. P. 4l(c) is (check one or more):
                rfl evidence of a crime;
                 rfl contraband, fruits of crime, or other items illegally possessed;
                 ref prope1ty designed for use, intended for use, or used in committing a crime;
                 0 a person to be arrested or a person who is unlawfully restrained.

           The search is related to a violation of:
             Code Section                                                            Offense Description
                 18 U.S.C. 2261A                  Stalking
              18 U.S.C. 2252A(a)(2)               Receipt/Distribution of Child Pornography
            18 U.S.C. 2252A(a)(5)(B)              Possession/Access with Intent to View Child Pornography
          The application is based on these facts:
        SEE ATTACHED AFFIDAVIT OF PROBABLE CAUSE

           r'lf Continued on the attached sheet.
           0 Delayed notice of        days (give exact ending date if more than 30 days: _ _ _ __                          ) is requested
             under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.

                                                                                           ~ :)~ 75
                                                                                                 Applicant's signature

                                                                                Natalie A. Daemen, TFO, Federal Bureau of Investigation
                                                                                                 Printed name and title

Sworn to before me and signed in my presence.




City and state: Wichita, Kansas                                                            e Gwynne E. Birzer, U.S. Magistrate Judge
                                                                                                 Printed name and title
         Print                        Save As ...                     Attach
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                        IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF KANSAS

IN THE MATTER OF THE SEARCH OF
INFORMATION AS SOCIA TED WITH
                                Case No. 22-MJ-6283-01-GEB
SUSANMARTINSUSIEQUE65@GMAIL.COM
THAT IS STORED AT PREMISES
                                Filed Under Seal
CONTROLLED BY GOOGLE LLC



                            AFFIDAVIT IN SUPPORT OF
                     AN APPLICATION FOR A SEARCH WARRANT

       I, Natalie A Daemen, being first duly sworn, hereby depose and state as follows:


                     INTRODUCTION AND AGENT BACKGROUND

       1.       I make this affidavit in suppo1i of an application for a search warrant for

inf01mation associated with a ce1tain account, identified in Attachment A, that is stored at

premises controlled by Google LLC, an email provider headquartered at 1600 Amphitheatre

Parkway, Mountain View, CA 94043. The information to be searched is described in the

following paragraphs and in Attachment A. This affidavit is made in support of an application

for a search warrant under 18 U.S.C. §§ 2703(a), 2703(b)(l)(A) and 2703(c)(l)(A) to require the

electronic service/communications provider to disclose to the government copies of the

information (including the content of communications) further described in Section I of

Attachment B.     Upon receipt of the infonnation described in Section I of Attachment B,

government-authorized persons will review that information to locate the items described in

Section II of Attachment B.

       2.     I am a Detective with the Wichita Police Department, and have been with the

depaiiment since March 2011. I am currently a Task Force Officer for the Federal Bureau of

Investigations. As a Task Force Officer of the FBI, I am authorized to investigate violations of
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laws of the United States, and I am a law enforcement officer with authority to execute an-est and

search warrants under the authority of the United States, including violations of Title 18, United

States Code § 2252 and 2252A, and 2261A. I have participated in a wide variety of criminal

investigations, to include violent crime, crimes against children, major theft, and other federal

crimes. I have participated in the preparation and execution of search warrants, including, but not

limited to, those involving the sexual exploitation of minors and certain activities relating to

material constituting or containing child pornography.

       3.      The facts in this affidavit come from my personal observations, my training and

experience, and information obtained from other agents and witnesses. This affidavit is intended

to show merely that there is sufficient probable cause for the requested warrant and does not set

fmth all of my knowledge about this matter.

       4.      This affidavit is intended to show only that there is sufficient probable cause for

the requested warrant and does not set forth all of my knowledge about this matter.

                                STATUTORY DEFINITIONS

       5.      As noted above, this investigation concerns alleged violations of the following:

               18 U.S.C. § 2252(a)(l) and (b)(l) prohibit any person from knowingly
               transpo1ting or shipping, or attempting or conspiring to transpo1t or ship, any
               visual depiction using any means or facility of interstate or foreign commerce, or
               in or affecting interstate or foreign commerce, by any means, including by
               computer or mail, if the production of such visual depiction involved the use of a
               minor engaging in sexually explicit conduct and such visual depiction is of such
               conduct.

              18 U.S.C. § 2252(a)(2) and (b)(l) prohibit any person from knowingly receiving
              or distributing, or attempting or conspiring to receive or distribute, any visual
              depiction using any means or facility of interstate or foreign commerce, or that
              has been mailed or shipped or transported in or affecting interstate or foreign
              commerce, or which contains materials which have been mailed or so shipped or
              transported, by any means including by computer, or knowingly reproducing any
              visual depiction for distribution using any means or facility of interstate or foreign

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     commerce, or in or affecting interstate or foreign commerce or through the mails,
     if the production of such visual depiction involved the use of a minor engaging in
     sexually explicit conduct and such visual depiction is of such conduct.

     18 U.S.C. § 2252(a)(4)(B) and (b)(2) prohibit any person from knowingly
     possessing or accessing with the intent to view, or attempting or conspiring to
     possess or access with the intent ~o view, 1 or more books, magazines,
     periodicals, films, video tapes, or other matter which contain any visual depiction
     that has been mailed, or has been shipped or transported using any means or
     facility of interstate or foreign commerce or in or affecting interstate or foreign
     commerce, or which was produced using materials which have been mailed or so
     shipped or transported, by any means including by computer, if the production of
     such visual depiction involved the use of a minor engaging in sexually explicit
     conduct and such visual depiction is of such conduct.

     18 U.S.C. § 2252A(a)(l) and (b)(l) prohibit a person from knowingly mailing, or
     transporting or shipping using any means or facility of interstate or foreign
     commerce or in or affecting interstate or foreign commerce by any means,
     including by computer, any child pornography, as defined in 18 U.S.C. § 2256(8),
     or attempting or conspiring to do so.

     18 U.S.C. § 2252A(a)(2)(A) and (b )(I) prohibit a person from knowingly
     receiving or distributing, or attempting or conspiring to receive or distribute, any
     child pornography or any material that contains child pornography, as defined in
     18 U.S.C. § 2256(8), that has been mailed, or using any means or facility of
     interstate or foreign commerce shipped or transported in or affecting interstate or
     foreign commerce by any means, including by computer.

     18 U.S.C. § 2252A(a)(5)(B) and (b)(2) prohibit a person from knowingly
     possessing or knowingly accessing with intent to view, or attempting or
     conspiring to do so, any material that contains an image of child pornography, as
     defined in 18 U.S.C. § 2256(8), that has been mailed, or shipped or transpo1ied
     using any means or facility of interstate or foreign commerce, or in or affecting
     interstate or foreign commerce, by any means, including by computer, or that was
     produced using materials that have been mailed or shipped or transported in or
     affecting interstate or foreign commerce by any means, including by computer.

     18 U.S.C. § 2261A(2)(b) prohibits a person from using the mail, any interactive
     computer service or electronic communication service or electronic
     communication system of interstate commerce, or any other facility of interstate
     or foreign commerce, with the intent to kill, injure, harass, intimidate, or place
     under surveillance with intent to kill, injure, harass, or intimidate another person,
     and to engage in a course of conduct that causes, attempts to cause, or would be
     reasonably expected to cause substantial emotional distress to that person, an
     immediate family member, or the spouse of that person.


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                                    PROBABLE CAUSE

       6.     This is pait of an on-going investigation into the stalking and harassment of

Charlin CHRISTIAN, and the distribution of child pornography, via accounts that appear to be

associated with or operated by Susan MARTIN.

       7.     This investigation involves a number of accounts which utilize or reported

information using Universal Coordinated Time (UTC), as well as actions or communications

occun-ing in Central Standard Time (between November 7, 2021 and March 13, 2022) and

Central Daylight Savings Time (March 13, 2022 to present). Central Time is five hours behind

Universal Coordinated Time (abbreviated as UTC-5) during Daylight Saving Time and six hours

behind Universal Coordinated Time (UTC-6) during Standard Time. For the convenience of the

reviewing magistrate, where important to the consideration of the facts, your Affiant has

conve1ted UTC times to Central Time accordingly.

                              Report ofLocanto Advertisement

       8.     On or about December 12, 2021, CHRISTIAN repo1ted MARTIN made a fake

Craigslist Ad advertising Free Sex, and that several males had come to her residence and stated

"SUSAN MARTIN says hi." During the investigation of this and additional rep01ting, WPD

Officer Kailee Oswalt observed an advertisement on Locanto.com entitled "Come over for fun,"

with the body of the post stating "Come over and fuck me just come to 1823 S Ida Wichita, KS

67211." Included on the advertisement was a photo of CHRISTIAN which had likely been taken

from her Facebook page.

       9.     Information provided by Locanto indicated that the adve1tisement had been

created on December 9, 2021, by Susan MARTIN, using MARTIN's phone number 3166707954

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and susanmaiincats55@gmail.com account. Additionally, the reported IP address (172.13.8.16)

returned to MARTIN's residence in Wichita, Kansas.

         10.      On January 11, 2022, Officer Oswalt contacted MARTIN and conducted an

interview. At that time, MARTIN admitted she utilized Facebook.com under the name "Susan

Lytle Martin." MARTIN provided verbal consent as well as signed a written consent to a search

of her cellular telephone and Samsung Tablet. Later that day, CHRISTIAN contacted Officer

Oswalt and provided a screenshot of a Facebook message from an account labeled Susan Martin

with a picture of MARTIN. The message stated: "since the police are wanting my phone and

tablet today. I will erase all information on it so she can't trace it back to me. That way they

won't find anything on it."

         11.      Subsequent forensic examination of MARTIN's phone revealed it had been used

to access the Locanto.com adve1iisement on December 10, 2021.

         12.      On Februaiy 1, 2022, CHRISTIAN established a new residence in Hutchinson,

Kansas. Shortly thereafter, CHRISTIAN was targeted for additional harassment, both online and

via reports to law enforcement.

           Child Pornography is directed to CHRISTIAN from MARTIN's residence

         13.      On February 5, 2022, Facebook detected a user identified as "Steve Sifers"

(Facebook User ID 100078060334329) had repeatedly uploaded images of what Facebook

identified as "apparent child pornography" involving a pubescent child engaged in a sex act,

from its review and familiarity with the image content. 1 Facebook reported the same files of



1Facebook noted it conducted a "hash match" of the images, meaning Facebook personnel had previously seen the
image, identified the contents as apparent child pornography, and retained the depiction's unique hash value. In this
manner, Facebook may automate the capture of previously seen child pornography images. Because Facebook
personnel are trained in identifying child pornography, as defined in 18 U.S.C. § 2256(8), and because Facebook has
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"apparent child pornography" were uploaded several times on February 5, 2022, stmiing around

1:20 PM Central Time (19:20:30 UTC).                    The following day, Facebook submitted Repo1i

117435133 to the National Center for Missing and Exploited Children (NCMEC) CyberTipline.

         14.      As pmi of Report 117435133, Facebook identified the "Steve Sifers" account

(Facebook User ID 100078060334329) had used Facebook Messenger to send images of child

pornography to two Facebook account recipients, "charlinchristian" (Facebook User ID

100000108190613)           and "charlin.christ" (Facebook User ID 100007807337416). These latter

two accounts "charlinchristian" and "charlin.christ" are known personal accounts of Charlin

CHRISTIAN, the target of the stalking activity.

         15.      As pmi of Report 117435133, Facebook provided the Messenger content, which

reflected written messaging sent in conjunction with images that Facebook identified as apparent

child pornography. The messaging reflected the following communication:

         "Hello this is Steve Susan Martin boyfriend. You should come over to my house with
         Bob Simmons and Susan Martin tonight. Bob is bringing free state and weed. He said I
         should invite you to our party. This is the kind of fun Bob, Susan, and I have. Come to
         1924 W Walker ST Wichita KS 67213 at eight thiliy PM. A few of the pie's are Bob and
         my granddaughter's. From my kids kid's it will be a fun party. Here is Bob and
         my granddaughter."

From Facebook's repo1i, the above written messaging was sent via Messenger Thread ID

5501387969874755, on February 5, 2022, at 1:35 PM Central Time (19:35:41 UTC), and was

sent immediately preceding and following the uploaded child exploitation image(s). While the

message and images were directed to the account CHRISTIAN, it is believed that the delivery of




substantial experience in identification of the same, Facebook's identification of the repmied image as "apparent
child pornography" (including that the image(s) involved a pubescent minor involved in a sex act) provides
sufficient evidence for probable cause.

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the images was prevented by Facebook (as it had detected the child pornography and thus

automatically prevented delivery).

          16.   As part of Repo1t 117435133, Facebook provided IPv6 address information

relative to the account. Specifically, for the uploads of child pornography, those occuned via

IPv6 address 2600:l 700:649c:c30:35a9:657c:6fc7:f6e0 on February 5, 2022, at 1:20 PM Central

Time (19:20:30 UTC), at 1:41 PM Central (19:41:52 UTC). Notably, this IPv6 address was

included by Google for another account. "robertsimmons5667@gmail.com," which Google had

detected as engaged in the uploading of child pornography at 1: 18 PM Central (roughly two

minutes before the first upload to Facebook). The usage of the same IP address, in close temporal

proximity to similar child pornography activity, strongly indicates that the user(s) of these two

accounts were located at the same physical location, and that the user(s) or operator(s) of the

accounts were likely the same person or acting in conceit with another.

          17.   As pait of Report 117435133, Facebook also repmted the account had most

recently been accessed, on February 5, 2022, at 2: 18 PM Central Time (20: 12:28 UTC), via IPv6

address 2600:1700:649c:c30:e594:895c:51aa:e6d0. A subpoena to AT&T revealed this IPv6

address provided service to MARTIN's residence at 1845 S Ida in Wichita, Kansas.

          18.   As pait of Report 117435133, Facebook advised the user of the "Steve Sifers"

account (Facebook User ID 100078060334329), had provided an associated email of

"stevesifers727@gmail.com." This Gmail account was later repo1ted by Google (discussed

below).

          19.   Around the same time as Facebook's detection/report, Google detected the user(s)

of "robe1tsimmons5667@gmail.com" had uploaded an image of child pornography to Google's

Gmail infrastructure. Google identified the image content as involving a prepubescent minor

                                                7
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involved in a sex act. 2 Google reported that the image had been uploaded via IPv6 address

2600: l 700:649c:c30:35a9:657c:6fc7 :f6e0 on February 5, 2022, at 1: 18 PM Central Time

(19:18:19 UTC). This was the same IPv6 address reported by Facebook in CyberTipline Repmi

117435133 (discussed above in paragraph 16, involved in similar activity roughly 2 minutes

later), indicating the user(s) of the Gmail account and Facebook account were operating from the

same physical location to upload child pornography.

         20.      Google captured the image and provided the same m a CyberTipline Report

117433986 submitted the following day to the National Center for Missing and Exploited

Children (NCMEC) Cybertipline. Google advised the image had an MD5 hash value of

be72b8dafDbddc44b9ab2e0462a2bfbb.

         21.      As part of Repmi 117433986, Google also noted the "original filename" for the

file was "download - 2022-02-05T124006.553.jpg." The filename suggests the file had been

downloaded by the user to a device operated by the user, and the device created the file title on

February 5, 2022 (2022-02-05) at 12:40:06. While it is unknown what program or application

was used to download the file, because the filename appears to reflect a title generated by a

device's program or application, it is likely that the timezone is one associated with the device

and would reflect the user's local time. Later investigation revealed the user of

"robe1isimmons5667@gmail.com" was either the user of, or acting in concert with, two other

accounts which were accessed from MARTIN's residence in Kansas. In light of these



2
  Google noted it conducted a "hash match" of the images, further explaining "while the contents of the file were not
reviewed concurrently to making the report, historically a person had reviewed a file whose hash (or digital
fingerprint) matched the hash of the reported image and determined it contained apparent child pornography."
Because Google personnel are known to be trained in identifying child pornography, as defined in 18 U.S.C. §
2256(8), and because Google has substantial experience in identification of the same, Google's identification of the
reported image as "apparent child pornography" (including that the image involved a prepubescent minor involved
in a sex act) provides sufficient evidence for probable cause.
                                                         8
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connections, it is probable that this file was downloaded by the user at MARTIN's residence on

February 5, 2020 at 12:40 PM Central Time, roughly 40 minutes before it was uploaded to

Google's servers.

       22.            A later search warrant for this account revealed it had been created on February 5,

2022        at         12:01       Central     Time          (18:10:01          UTC)          Via       IP          address

2600: l 700:649c:c30:4882:3a8e:2e4b:3c93. Google reported the account had only been logged

into a single time, and had been disabled with an end-of-service date of February 5, 2022 at 1: 18

PM Central Time (19: 18:29 UTC). Thus, this account appeared to have been created for the sole

purpose of uploading and sending child pornography, but had been detected/disabled before the

user(s) were able to do so.

       23.            Another related account was repo1ied by Google in CyberTipline Repmi

117443663.            For   that    report,   Google        advised      it    had        detected     the     user      of

"stevesifers727@gmail.com" uploaded 52 files of "apparent child pornography" to the user's

Google Drive storage. These uploads were sent in a roughly 20 second window around 6:29 PM

Central Time on February 6, 2022 (specifically 00:28:45 UTC and 00:29:08 UTC on February 5,

2022). Notably, the uploaded files included the file reported by Google in Repoti 117433986,

discussed        in      paragraphs     20    and      21      above.         Specifically,         Google      reported

"stevesifers727@gmail.com" account had uploaded the file with the original filename

"download                      2022-02-05T124006.553.jpg"             with           an       MD5            hash       of

"be72b8dafDbddc44b9ab2e0462a2bfbb," which indicates it was the same file of child

pornography as uploaded by the "robertsimmons5667@gmail.com" account roughly five hours

earlier. Likewise, the "stevesifers727@gmail.com" account was associated with the Facebook



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"Steve Sifers" account (as noted above in paragraph 18) which sent child pornography to the two

accounts of CHRISTIAN roughly 4.5 hours earlier.

        24.    Later review of the IP address information associated with the uploaded images

revealed the "stevesifers727@gmail.com" had accessed an IPv6 address that had also been used

in the Facebook account. Specifically, on February 5, 2022, at 11:15 AM Central Time (17:15:09

UTC), the "stevesifers727@gmail.com" account was             logged into via IPv6       address

2600: 1700:649c:c30:5951 :6076:18af:bcd3. On that same date, just nine seconds earlier

(17: 15 :00 UTC), Face book records showed the "Steve Sifers" account had been logged in via the

same IPv6 address. The nine second difference strongly indicates the user(s) were located at the

same physical location, and that the user(s) or operator(s) of the accounts may be the same or

acting in concert.

        25.    A later search warrant for the "stevesifers727@gmail.com" account revealed it

had been created on February 5, 2022 at 11:09 AM Central Time (17:09:23 UTC) and then

disabled on the same day at 6:29 PM (00:29:09 UTC on February 6, 2022). Thus, similar to the

"robe1isimmons5667" account, this account appeared to have been created for the sole purpose

of creating a Facebook account which was used to upload and send child pornography.

       26.     The preceding information relative to the Cybertips was discovered by law

enforcement later (in late February, early March 2022), but has been inse1ied in the chronology

to provide context for later information.

                Report of Child Pornography to NCMEC, Hutchinson Police

       27.     On February 5, 2022, at approximately 6:44 PM Central (which converts to

00:44:00 UTC on February 6, 2022), Hutchinson Police Chief Jeff Hooper received an email

from "susanmaiiinsusieque65@gmail.com" (TARGET ACCOUNT) stating "You need to know

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Charlin Christian is receiving child porn on her phone through her email. Her email address is

charlinthestar@gmail.com last I knew she lives in Hutchinson." In context, this email would

have been sent roughly 5 hours after the messages detected/captured by Facebook from the

"Steve Sifers" account.

         28.      On February 5, 2022, at 6:53 PM Central (00:53:53 UTC on February 6, 2022),

NCMEC received a report that advised "charlinthestar@gmail.com" was "receiving and sending

child porn" with a repmied incident time of 5:40 PM Central (23:40:00 UTC), roughly an hour

earlier. This repo1i was submitted from IP address 172.13 .8.16. This IP address is known to

provide service to MARTIN's residence during this time period.

         29.      On February 8, 2022, the Hutchinson Kansas Police Department received a report

from CHRISTIAN advising she had been sent images of child pornography via email on

February 5, 2022 at 6:39 PM. The email came from "bobsimmons5665@protonmail.com" 3 to

her email address "charlinthestar@gmail.com." CHRISTIAN repmied she contacted Bob

Simmons, a former neighbor from the 1800 block of S Ida, and he denied sending the email.

         30.      The child pornography sent via the Protonmail account included images depicting

prepubescent females spreading their legs and exposing their genitals.

         31.      The time between the child pornography email sent to CHRISTIAN and the email

sent to Chief Hooper is roughly 5 minutes. Given the sender's apparent awareness that child

pornography would then be located in CHRISTIAN's Gmail account, it is likely that the sender

was responsible or involved in sending the child pornography to the account in order to fabricate



3
 Protonmail is an end-to-end encrypted email service, with both free and paid services. Protonmail does not require
any verifiable information to set up an account. However, if a user forgets their password and has not provided a
phone or secondary email address, no "password reset" email or text message can be used to reset the password.

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a report to Chief Hooper. Moreover, because the email to Hutchinson law enforcement was only

four days after CHRISTIAN's relocation, it appears the sender was/is surveilling CHRISTIAN's

movements.

                                 Additional Child Pornography Distribution

            32.      On February 19, 2022, an email was sent to the Hutchinson Police Department,

Reno County Sheriff Depattment, and several Hutchinson businesses, containing child

pornography, including images depicting prepubescent females spreading their legs and exposing

their genitals. The email message stated:

           From: charlinthestars <charlinthestars@protonmail.com>
           Sent: Saturday, February 19, 2022 2:26 PM
           To: [REDACTED] 4

            Subject: [EXT_ SENDER] I will take photos and videos to sell like these for you.

           I am Charlin Christian and I take photos and videos to sell online. I am back from New
           Mexico. So find me in Hutchinson KS at charlinthestar@gmail.com and I will take
           photos of your little ones to sell to people. And I will share the money I make from the
           photos and videos. I use my computer that i keep secret from everyone in Hutchinson that
           way we all wont get in trouble. My photo studio is called the Lucia and Christian kiddy
           sexy photos. my kids Aabe and Indy Lucia help me with the photos and videos. We also
           sell any drug's or anything ells you want including sex and happy ending massage's. So
           come have fun with us and mention that Bob, Mindy, and Susan sent you for a discount.
           Hope to hear from all of you soon You're friend Charlin Christian.

           charlinthestar@gmail.com
           Sent with ProtonMail Secure Email.

           33.      The     email     also   contained      a   "chain"      of a previous       message,   from

"bobsimmons5665@protonmail.com" sent on Febrnary 5, 2022. That p01tion contained an

original email of "Hey i am going to my friend's house at 1924 W Walker ST tonight, I need you

to keep these safe for me and Steve. Don't look at them or call anyone. About them I will be


4
    The recipients have not been included in this affidavit, but are known to law enforcement.

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getting more so keep them safe from me." The content was similar to that sent to CHRISTIAN's

Gmail account on February 5, 2022.

         34.       It   is   notable     that   the    email     header     contained      a   return     address        of

"charlinthestars@protonmail.com," but within the email the writer advised to contact via

"charlinthestar@gmail.com." The apparent usage of the same username suggests the sender was

trying to mimic the known Gmail account of CHRISTIAN, and to directly implicate the same.

         35.       On February 22, 2022 at approximately 3:07 PM Central, MARTIN called 911

and reported receiving emails from "charlinthestares@protonmail.com" 5 which contained child

pornography.

         36.       When detectives responded to MARTIN's residence at 1845 S Ida, TETER

reported he thought his and MARTIN's phones had been hacked. MARTIN and TETER both

signed waivers to search their phones, and the devices were forensically processed.

         37.       WPD Detectives Pearman and Newbery returned to the residence on February 23,

2022 to return cellphones to MARTIN and TETER. Both MARTIN and TETER turned off the

Airplane Mode function on their phones (thus activating receptivity) and advised they had both

received additional emails similar to before (though they had not opened the emails themselves).

Both agreed to let Detective Pearman retain custody of their phones for forensic downloads.

         38.      While at MARTIN's residence, Detective Newberry requested access to the

wireless internet at the residence and was provided a password by TETER. Officer Newberry

used a website https://ipchicken.com which showed the IP address of 172.13.8.16 was the



5
  This reflects a slight difference from the earlier email, adding an "e" to the username. This suggests that the user
forgot the password for the account and had not put in a secondary email or phone, and thus created a new account
to replace the old one.

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current IP for the wireless network. This is the same IP address used to post and modify the

Locanto.com advertisement from December 2021 and to submit the private citizen report to

NCMEC (both referenced above).

       39.     Examination of the phones' contents showed TETER received an email from

"bobsimmons5665@protonmail.com" at his address of "christopherteter42421@gmail.com" on

February 22 at 4:41 PM Central. The email stated "We will get you to take the blame for this.

And make Susan and Charlin blame you. That way you get in trouble. Hope you enjoy being

blamed for this. We have our friend helping blame you and Charlin that way you will be the

only one to get in trouble. Steve Sifers is helping us with that." The email contained photos of

CHRISTIAN and photos of prepubescent females spreading their legs to show their genitals as

well as prepubescent children engaging in various sex acts, including penetration of genitals with

a carrot and oral sex. The reference to Steve SIFERS is a reference to a previous boyfriend of

MARTIN, whom TETER outed to MARTIN as a convicted sex offender.

       40.     TETER also received an email from "charlinthestares@protonmail.com" on

February 22, 2022 at 5:30 PM Central. The email stated "I am Charlin Christian and I take

photos and videos to sell online. I am back from new Mexico. So find me in Hutchinson KS at

charlinthestar@gmail.com and I will take photos of your little ones to sell to people. And I will

share the money I make from the photos and videos. I use my computer that I keep secret from

everyone in Hutchinson that way we all wont get in trouble. My photo studio is called the Lucia

and Christian kiddy sexy photos. My kids Aabe and Indy Lucia help me with the photos and

videos. We also sell any drug's or anything ells you want including sex and happy ending

massage's. So come have fun with us and mention that Bob, Mindy, and Susan sent you for a

discount. Hope to hear from all of you soon you're friend Charlin Christian." The images in the

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email appeared to be the same as the email from "bobsim'rnons5665@protonmail.com" sent to

CHRISTIAN on February 5, 2022, suggesting the operator of the accounts has continued to

retain the images in order to send them from new Protonmail accounts.

                    Search warrant for MARTIN's residence and devices

       41.     A search warrant (22-MJ-6039-KGG) was obtained for 1845 S Ida (MARTIN's

residence). Agents executed the warrant on March 17, 2022. A laptop was located in TETER's

bedroom.

       42.     Both MARTIN and TETER were interviewed during the search on March 17,

2022. In her brief interview, MARTIN provided demographic information but denied knowing

anything about the child pornography. When asked about the laptop, she claimed it had been hers

but she gave it to TETER and had not used it in years.

       43.    During his interview, TETER claimed that he provided MARTIN with email

addresses, which she used as the recipients of emailed child pornography. However, he denied

obtaining the child pornography. He claimed that, as agents were announcing their presence,

MARTIN gave him the laptop and told him to hide it. TETER stated that is why the laptop was

in his room. TETER stated that MARTIN was the user of the laptop. TETER also claimed that

MARTIN was using an email account, identified by him as a "Mike Brown" email account, to

make sex advetiisements about him to harass him like MARTIN was doing to CHRISTIAN.

       44.    Subsequent physical examination of the laptop revealed a useable print at the top

edge near the camera. The useable fingerprint on the laptop came back to TETER's right thumb.

       45.    Examination of the laptop revealed thumbnail images of child pornography that

had been deleted. Those images were compared to the child pornography sent by the Protonmail

accounts, and many matches were observed. Examples of content found on the laptop (and in the

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Protonmail emails) included an image depicting a female believed to be under the age of 14

sitting on a bed while fully nude, with her legs spread to expose her genitals into which she is

inserting an orange object. Another image depicts a fully nude female believed to be under the

age of 14 standing with one leg raised to the side exposing her vagina. Another image depicts a

female believed to be under the age of 14 lying on her back wearing black nylons and silver high

heels subjected to vaginal penetration by an adult male.

       46.        During a download of the laptop and a phone belonging to TETER the e-mail

address of "mike.brown86424@gmail.com" was located on both devices. This e-mail account

was accessed via the web browser during the time frame of the child pornography e-mails

(February 5 through 19, 2022). Because the account was accessed via a web browser (rather than

an application on the device), none of the e-mails were visible on the device download.

       47.        Following this search, in April 2022, MARTIN and TETER left the 1845 SIDA

residence and appeared to have left the jurisdiction, establishing a new residence (together) in

Arkansas.

             Additional investigation into MARTIN's email and other accounts

       48.        Investigators           obtained           a         search     warrant         for      the

"susanmaitinsusieque65@gmail.com" account (TARGET ACCOUNT). Investigators observed

the account was created on December 12, 2021. Additionally, the content provided by Google

included     an       email       dated      February            22,   2022     showing     the     user   of

"susanmartinsusieque65@gmail.com" received a verification code from Protonmail, the service

used to send the child pornography. The content provided by Google in response to that search

warrant extended to February 23, 2022. As will be set fo1th below, additional activity has

occurred.

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                 Additional contact from a new MARTIN Facebook account

        49.    ICAC Detective Pearman with the Wichita Police Department received a repott

from Charlin CHRISTIAN that she had received more messages from Susan MARTIN on a new

Facebook page.

        50.    Susan MARTIN's new Facebook page is under her name of Susan Maitin at

https://www.facebook.com/profile.php?id=l 00078629967555. This account appears to have

been created on March 15, 2022.

        51.    On March 15, 2022 at 11 :04 PM Central a Facebook post occuned of a photo of

CHRISTIAN's mother's house from the account of Susan Martin. The message with the

photograph read, "My friend's Bob, Mindy, and I. Drove by here today to make sure it is her.

Bob and Mindy got out and looked around and looked in and saw it is her place. Bob made sure

of that so thank you to my friend's for that."

        52.    On March 16, 2022 CHRISTIAN began receiving Facebook instant messages

purp01tedly from MARTIN talking about driving by her house. "Bob will be sending more e-

mails to people in your name" "And more post office boxes because I will be sending more to

you".

        53.    On March 16, 2022 Detective Pearman received screenshots from CHRISTIAN

of her Facebook Messenger account of a message from the Facebook account, indicating that

MARTIN is pressing charges on CHRISTIAN:




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      54.    On March 18, 2022 Detective Pearman had in-person contact with MARTIN,

during which MARTIN asked if she could obtain a new phone. Approximately two hours later

the Facebook account contacted CHRISTIAN, which was sent as a screen-capture to Detective

Pearman:




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       55.        The Facebook account has tagged CHRISTIAN in comments and has many

pictures of the orders of shipping boxes and labels from USPS, which were sent to CHRISTIAN

and her family.
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       56.     On March 29, 2022, Hutchinson Police Case took a report (2022-00008112) from

CHRISTIAN's mother, Sandra DALE, regarding receiving packages purpo1iedly from Susan

MARTIN. These were United States Postal Office boxes, which can be pre-ordered and aiTived

broken down and bundled together

       57.     On March 29, 2022, a sex adve1iisement on Locanto for DALE's address was

posted to the Facebook account.

       58.     On March 30, 2022 Detective Pearman contacted Locanto about the ads posted to

the    Facebook      account      and     learned    that    they     were     registered       to

"susanmartinsusieque65@gmail.com" (TARGET ACCOUNT) with the same IPv4 address seen

in the initial Locanto ads, as well as observed by the investigators, which returned to MARTIN's

residence at 1845 S Ida in Wichita, Kansas.

       59.    WPD Detective Pearman undertook recent (September 2022) visual surveillance

of the residence at 1845 S Ida and observed a car known to be operated by MARTIN present.

Peaiman made contact with the US Postal Service and learned MARTIN had changed her

address from an Arkansas location back to 1845 S Ida in Wichita, Kansas, on September 3, 2022.

Similarly, US Postal Service advised TETER had deleted his change of address to the (same)

Arkansas location, returning service to 1845 S Ida in Wichita, Kansas, on September 13, 2022.

                         BACKGROUND CONCERNING GMAIL

       60.    In my training and experience, I have learned that Google provides a variety of

on-line services, including electronic mail ("email") access, to the public.    Google allows

subscribers to obtain email accounts at the domain name gmail.com like the email account[ s]

listed in Attachment A. Subscribers obtain an account by registering with Google. During the

registration process, Google asks subscribers to provide basic personal information. Therefore,

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the computers of Google are likely to contain stored electronic communications (including

retrieved and unretrieved email for Google subscribers) and information concerning subscribers

and their use of Google services, such as account access information, email transaction

inf01mation, and account application information.              In my training and experience, such

info1mation may constitute evidence of the crimes under investigation because the information

can be used to identify the account's user or users.

        61.     A Google subscriber can also store with the provider files in addition to emails,

such as address books, contact or buddy lists, calendar data, pictures (other than ones attached to

emails), and other files, on servers maintained and/or owned by Google. In my training and

experience, evidence of who was using an email account may be found in address books, contact

or buddy lists, email in the account, and attachments to emails, including pictures and files.

        62.     In my training and experience, email providers generally ask their subscribers to

provide certain personal identifying information when registering for an email account. Such

information can include the subscriber's full name, physical address, telephone numbers and

other identifiers, alternative email addresses, and, for paying subscribers, means and source of

payment (including any credit or bank account number). In my training and experience, such

information may constitute evidence of the crimes under investigation because the info1mation

can be used to identify the account's user or users. Based on my training and my experience, I

know that, even if subscribers insert false information to conceal their identity, this information

often provides clues to their identity, location, or illicit activities.

        63.     In my training and experience, email providers typically retain certain

transactional information about the creation and use of each account on their systems. This

information can include the date on which the account was created, the length of service, records

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of log-in (i.e., session) times and durations, the types of service utilized, the status of the account

(including whether the account is inactive or closed), the methods used to connect to the account

(such as logging into the account via the provider's website), and other log files that reflect usage

of the account. In addition, email providers often have records of the Internet Protocol address

("IP address") used to register the account and the IP addresses associated with pmticular logins

to the account. Because every device that connects to the Internet must use an IP address, IP

address information can help to identify which computers or other devices were used to access

the email account.

       64.     In my training and experience, m some cases, email account users will

communicate directly with an email service provider about issues relating to the account, such as

technical problems, billing inquiries, or complaints from other users. Email providers typically

retain records about such communications, including records of contacts between the user and

the provider's suppmt services, as well as records of any actions taken by the provider or user as

a result of the communications. In my training and experience, such information may constitute

evidence of the crimes under investigation because the information can be used to identify the

account's user or users.

       65.     As explained herein, information stored in connection with an email account may

provide crucial evidence of the "who, what, why, when, where, and how" of the criminal conduct

under investigation, thus enabling the United States to establish and prove each element or

alternatively, to exclude the innocent from fmther suspicion. In my training and experience, the

infonnation stored in connection with an email account can indicate who has used or controlled

the account.    This "user attribution" evidence is analogous to the search for "indicia of

occupancy" while executing a search warrant at a residence.                    For example, email

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communications, contacts lists, and images sent (and the data associated with the foregoing, such

as date and time) may indicate who used or controlled the account at a relevant time. Further,

information maintained by the email provider can show how and when the account was accessed

or used. For example, as described below, email providers typically log the Internet Protocol

(IP) addresses from which users access the email account, along with the time and date of that

access.         By determining the physical location associated with the logged IP addresses,

investigators can understand the chronological and geographic context of the email account

access and use relating to the crime under investigation. This geographic and timeline

information may tend to either inculpate or exculpate the account owner.                Additionally,

information stored at the user's account may fmther indicate the geographic location of the

account user at a particular time (e.g., location information integrated into an image or video sent

via email). Last, stored electronic data may provide relevant insight into the email account

owner's state of mind as it relates to the offense under investigation. For example, information in

the email account may indicate the owner's motive and intent to commit a crime (e.g.,

communications relating to the crime), or consciousness of guilt (e.g., deleting communications

in an effort to conceal them from law enforcement).

          66.      Likewise, because free email services, such as Gmail, tend to rely on advertising

in order to pay for the service, it is likely that Google obtained information relative to the user's

computer and other activity, via the use of cookies, to develop the targeted advertising. In this

manner, user attribution may be discerned by the collection of cookie data as well as review of

adve1tisements sent to the account.

          67.      Because this case involves the potential distribution of child pornography and the

usage of sex advertisements as a means of harassing or intimidating others, it is suspected that

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this account was created for harassing or intimidating another, particularly in light of TETER' s

statements and the presence of the account on the laptop along with child pornography. The

absence of "regular use" data would be an indicator of such purpose.

             INFORMATION TO BE SEARCHED AND THINGS TO BE SEIZED

       68.     I anticipate executing this warrant under the Electronic Communications Privacy

Act, in paiticular 18 U.S.C. §§ 2703(a), 2703(b)(1 )(A) and 2703(c)(1 )(A), by using the warrant

to require Face book to disclose to the government copies of the records and other information

(including the content of communications) paiticularly described in Section I of Attachment B.

Upon receipt of the infonnation described in Section I of Attachment B, government-authorized

persons will review that information to locate the items described in Section II of Attachment B.

                                         CONCLUSION

       69.     This Court has jurisdiction to issue the requested wanant because it is "a court of

competent jurisdiction" as defined by 18 U.S.C. § 2711. 18 U.S.C. §§ 2703(a), (b)(l)(A) &

(c)(l)(A). Specifically, the Court is a district court of the United States in the district of Kansas

that - has jurisdiction over the offense being investigated." 18 U.S.C. § 2711(3)(A)(i).

       70.     Based on the foregoing facts, there is probable cause to believe the above-

identified Google account (further described in Attachment A) has been involved in and used to

facilitate or commit the violations of 18 U.S.C. §§ 2261A, 2252A(a)(2), and 2252A(a)(5)(B),

and that evidence of those criminal offenses will be located in the account described above.

Further, I submit that such evidence, listed in Attachment B to this affidavit, constitutes

contraband, the fruits of crime, or things otherwise criminally possessed, or property which is or

has been used as the means of committing the foregoing offenses.



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       71.      Therefore, I respectfully request that the attached warrant be issued authorizing

the search and seizure of the account, listed in Attachment A, for the evidence listed in

Attachment B.

       72.      Moreover, bt!cause the warrant will be served on Google, who will then compile

the requested records at a time convenient to it, reasonable cause exists to permit the execution

of the requested warrant at any time in the day or night.

       73.      Pursuant to 18 U.S.C. § 2703(g), the presence of a law enforcement officer is not

required for the service or execution of this warrant. The government will execute this warrant

by serving it on Facebook. Because the warrant will be served on Facebook, who will then

compile the requested records at a time convenient to it, reasonable cause exists to permit the

execution of the requested warrant at any time in the day or night.



                                                     Respectfully submitted,



                                                     Natalie A Daemen
                                                     Task Force Officer
                                                     Federal Bureau of Investigation


       Subscribed and sworn to before me on    -~U
                                                 ~~(f)
                                                   ~_lf~_•_____ ,2022




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                                      ATTACHMENT A

                                   Property to Be Searched

This warrant applies to information associated with


SUSANMARTINSUSIEQUE65@GMAIL.COM


that is stored at premises owned, maintained, controlled, or operated by Google LLC, a company

headguaiiered in Mountain View, California.
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                                          ATTACHMENT B

                                    Particular Things to be Seized

    I.         Information to be disclosed by Google LLC (the "Provider")

         To the extent that the information described in Attachment A is within the possession,

custody, or control of Google LLC ("Google"), regardless of whether such information is located

within or outside of the United States, including any messages, records, files, logs, or

information that have been deleted but are still available to Google, or have been preserved

pursuant to a request made under 18 U.S.C. § 2703(£), Google is required to disclose the

following information to the government for each user ID listed in Attachment A, for the period

between December 1, 2021 to present (with exception for registration information which may

predate that period):

         (a)      All contact and personal identifying infonnation provided to Google, during the

                  registration process or at any time thereafter, including but not limited to

                  secondary or verification accounts, cookie data analytics, and GPS location data;

         (b)      All IP logs, including all records of the IP addresses that logged into the account;

         (c)      All activity logs, including IP addresses, for the account and all other documents

                  showing the user's activity, and specifically including Google Photos activities;

         (d)      All records or other information regarding the devices and internet browsers

                  associated with, or used in connection with, the identified account, including the

                  hardware model, operating system version, unique device identifiers, and mobile

                  network information;




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       (e)    All photos and videos uploaded by that user and all photos and videos uploaded

              by any other user to that account, including Exchangeable Image File ("EXIF")

              data and any other metadata associated with those photos and video;

       (f)    All public-facing profile information for the account;

       (g)    All contacts of the account, lists of approved users, and including the privacy

              settings associated with such lists;

       (h)    All other records and contents of communications and messages made or received

              by the user;

       (i)    The types of service utilized by the user;

       G)     The length of service (including start date) and the means and source of any

              payments associated with the service (including any credit card or bank account

              number);

       (k)    All privacy settings and other account settings for the identified account;

       (I)    All records pertaining to communications between Google and any person

              regarding the identified account, including contacts with supp01i services and

              records of actions taken.

       Google is hereby ordered to disclose the above information to the government within 30

DAYS of issuance of this warrant. (Google may request an extension, and such extension may be

authorized by the receiving agent or agency, TFO Natalie Daemen of FBI.)



II.    Information to be seized by the government

       All information described above in Section I that constitutes fruits, evidence and ·

instrumentalities of violations of the criminal violations of 18 U.S.C. §§ 2252A(a)(2),

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2252A(a)(5)(B), and 2261A(a)(2), as described in the .t\ffidavit, including information pertaining

to the following matters:

           (a) Any and all visual depictions of minors engaged in sexually explicit conduct,

               child pornography, child erotica, and communications pe1iaining to child

               pornography, child sexual abuse, and child sexual exploitation;

           (b) Any and all evidence tending to reveal the identity of the person(s) who created or

               used the Google account, including records that help reveal the whereabouts of

               such person(s);

           (c) Any and all evidence indicating how and when the Google account was accessed

               or used, to determine the chronological and geographic context of account access,

               use, and operation, in relation to the crimes under investigation;

           (d) Any and all evidence indicating the account user's state of mind as it relates to the

               crimes under investigation;

           (e) Any and all evidence pertaining to access, use, or operation of, or communication

               with, the Protonmail, Gmail, Facebook, and Locanto accounts described in the

               attached affidavit;

           (f) Any and all evidence showing communications with or about Charlin Christian,

               Steve Sifers, Robert Simmons, Susan Martin, Christopher Teter, and the

               recipients of the child pornography emails known to law enforcement from the

               Protonmail emails, referenced in the attached affidavit.

This warrant authorizes a review of electronically stored information, communications, other

records and information disclosed pursuant to this warrant in order to locate evidence, fruits, and

instrumentalities described in this warrant. The review of this electronic data may be conducted

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by any government personnel assisting in the investigation, who may include, in addition to law

enforcement officers and agents, attorneys for the government, attorney support staff, and

technical experts. Pursuant to this warrant, the FBI may deliver a complete copy of the disclosed

electronic data to the custody and control of attorneys for the government and their support staff

for their independent review.




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